              Case 1:13-cr-00163-GBL Document 1 Filed 05/15/13 Page 1 of 1 PageID# 1


AO 455 (Rev. 01/09) Waiver of an Indictment


                                      United States District Court
                                                           for the
                                                                                                                          -




                                               Eastern District of Virginia                                     '




                  United States of America                                                              I MM 15
                                 v.                                  Case No.
                                                                                1:13-cr-163
                                                                                                     %~ CLERK, ill    •       .   ..i   -




                            YEON HAN                                                                                                        1
                             Defendant

                                              WAIVER OF AN INDICTMENT


        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

          After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.




Date:         05/15/2013                                                                -C
                                                                                       Defendant's signature



                                                                      O—^
                                                                                 Signature ofdefendant's attorney

                                                                                      Alan Yamamoto, Esq.
                                                                                Printed name ofdefendant's attorney
                                                                                              fsl
                                                                        Gerald Bruce Lee
                                                                        United States District Judge
                                                                                         Judge's signature


                                                                                The Honorable Gerald Bruce Lee
                                                                                   Judge's printed name and title
